Case 2:21-cv-01102-DSF-MRW Document 52 Filed 04/04/22 Page 1 of 2 Page ID #:1784



   1   GRODSKY, OLECKI & PURITSKY LLP
       Allen B. Grodsky (SBN 111064)
   2   allen@thegolawfirm.com
       John J. Metzidis (SBN 259464)
   3   john@thegolawfirm.com
       11111 Santa Monica Boulevard, Suite 1070
   4   Los Angeles, California 90025
       Telephone: (310) 315-3009
   5   Facsimile: (310) 315-1557
   6   Attorneys for Defendants
       Katherine Von Drachenberg, Kat Von D, Inc.,
   7   and High Voltage Tattoo, Inc.
   8
   9                            UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11                                 WESTERN DIVISION
  12
       JEFFREY B. SEDLIK, an individual;       Case No. 2:21-cv-01102-DSF-MRWx
  13
                   Plaintiff,                  Before the Hon. Dale S. Fischer,
  14                                           U.S. District Judge
             vs.
  15                                           NOTICE OF ERRATA AND
       KATHERINE VON                           CORRECTION
  16   DRACHENBERG (a.k.a. “KAT
       VON D”), an individual; KAT             Hearing
  17   VON D., INC., a California              Date:   April 18, 2022
       corporation; HIGH VOLTAGE               Time:   1:30 p.m.
  18   TATTOO, INC., a California              Place:  Courtroom 7D
       corporation; and DOES 1 through 10,             First Street Courthouse
  19   inclusive,                                      350 West 1st Street
                                                       Los Angeles, CA 90012
  20               Defendants.
  21                                           Action filed:   February 7, 2021
                                               FPTC:           June 27, 2022
  22                                           Trial:          July 26, 2022
  23
  24
  25
  26
  27
  28
Case 2:21-cv-01102-DSF-MRW Document 52 Filed 04/04/22 Page 2 of 2 Page ID #:1785



   1         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
   2   ATTORNEYS OF RECORD:
   3         Defendants’ counsel advise the Court and opposing counsel of the following
   4   two typographical errors contained in Defendants’ Separate Statement of
   5   Uncontroverted Facts and Conclusions of Law (Dkt. 33), filed in support of
   6   Defendants’ motion for summary judgment.
   7         1.     Defendants’ UFs Nos. 71 and 75-81 (Dkt. 33, at 12-13) cite as
   8   supporting evidence Exhibit 203 (Dkt. 35-19). This citation should be to
   9   Exhibit 209 (Dkt. 35-23), which shows the completed tattoo; and not to Exhibit 203
  10   (Dkt. 35-19), which only shows the tattoo in progress.
  11         2.     Defendants’ UF No. 31 (Dkt. 33 at 5) cites as supporting evidence
  12   Exhibit 26 (Kat Depo., Dkt. 35-11) at 118:25-119:2. This citation should have
  13   included the immediately preceding question and answer on the deposition
  14   transcript, at 118:22-24. See Dkt. 35-11 at 118:22-24 (“Q: Did Mr. Farmer pay
  15   you for the tattoo that’s the subject of this litigation? A: No.”).
  16
       Dated: April 4, 2022                Respectfully submitted,
  17
                                           GRODSKY, OLECKI & PURITSKY LLP
  18                                        Allen B. Grodsky
                                            John J. Metzidis
  19
  20                                       By:     /s/ Allen B. Grodsky
                                                       Allen B. Grodsky
  21
                                           Attorneys for Defendants Katherine Von
  22                                       Drachenberg, Kat Von D, Inc., and High Voltage
                                           Tattoo, Inc.
  23
  24
  25
  26
  27
  28

                                                  -2-
